Case 2:05-Cr-20067-BBD Document 26 Filed 07/08/05 Page 1 of 2 Page|D 31

 

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UNI'I‘ED STATES OF AMERICA

Plaintiff,
VS. CR. NO. 05-20067-D

GREGORY REED
Defendant.

 

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AND SETTING

 

This cause came to be heard on July 7, 2005, the United States
Attorney for this distriot, Timothy R. DiScenza, appearing for the
Government and the defendant, Gregory Reed, appearing in person and with
counsel, Edwin A. Perry, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty' to Count 4 of the
Indictment.

Remaining Counts shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for WEDNESDAY, OCTOBER 5, 2005, at
1:30 P.M., in Courtrocm No. 3, on the 9th floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the 2 day of July, 2005.

 

 

ITED STATES DISTRICT JUDGE

Th!s document entered on the docket sheet in compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CR-20067 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

EdWin A. Perry

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Honorable Bernice Donald
US DISTRICT COURT

